Case 2:21-cv-01153-DSF-KS Document 16 Filed 11/04/21 Page 1 of 1 Page ID #:46




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

 ORLANDO GARCIA                       CASE NO.
                                      2:21−cv−01153−DSF−KS
              Plaintiff(s),
       v.                              Order to Show Cause re
 BILLA BROS LLC                        Dismissal for Lack of
                                       Prosecution
             Defendant(s).




       Default has been entered by the Clerk as to the remaining defendants. No
    motion for default judgment has been filed. Plaintiff is ordered to file a
    motion for default judgment on or before December 6, 2021. Failure to file a
    default judgment motion by that date may result in sanctions, including
    dismissal for failure to prosecute.

      IT IS SO ORDERED.

 Date: November 4, 2021                    /s/ Dale S. Fischer
                                          Dale S. Fischer
                                          United States District Judge
